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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA


                                                             )
EUGENIA II INVESTMENT HOLDINGS                               )
LIMITED (BVI),                                               )
                 Plaintiff,
                                                             )
                                                             )   CIVIL ACTION NO: 2:20-cv-00843
v.
                                                             )
ANTHONY BELISLE,                                             )
                                                             )
                             Defendant.
                                                             )


                        DEFENDANT’S NOTICE OF CORRECTED EXHIBIT

           Defendant, Anthony Belisle, respectfully submits a corrected version of Document No.

16-9, which is Exhibit J to the Transmittal Declaration of Joan A. Lukey in Support of

Defendant’s Dispositive Motion to Dismiss Complaint for Failure to State a Claim (Doc. 18).

Defendant states as follows:

           1.       On January 19, 2021, Defendant filed a Dispositive Motion to Dismiss Complaint

for Failure to State a Claim and Incorporated Memorandum of Law (Doc. 16) (the “Motion”).

           2.       On January 19, 2021, Defendant also filed the Transmittal Declaration of Joan A.

Lukey in Support of Defendant’s Dispositive Motion to Dismiss Complaint for Failure to State a

Claim (Doc. 18) (the “Declaration”).

           3.       Defendant attached, as Exhibit J to the Declaration, a facsimile transmission dated

October 26, 2017, which is Document No. 16-9 on the Court’s docket. 1

           4.       During the process of scanning and uploading Exhibit J, it became illegible. See

Doc. 16-9.


1
           Although Exhibit J is an exhibit to the Declaration, it was linked to the Motion during the ECF filing
process.
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       5.     A more legible version of Exhibit J is attached hereto, as a substitute for

Document No. 16-9. While the attached Exhibit J is clearer than Document No. 16-9, it is

otherwise identical to Document No. 16-9.



                                                  Respectfully Submitted,

                                                  ANTHONY BELISLE,

                                                  By his attorneys,

                                                  /s/ Joan A. Lukey
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 Date: February 9, 2021




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                                CERTIFICATE OF SERVICE

I, Joan A. Lukey, attorney for the Defendant, Anthony Belisle, hereby certify that this document
filed through the ECF system will be served electronically to the registered ECF participants as
identified on the Notice of Electronic Filing (NEF).



                                                 /s/ Joan A. Lukey




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